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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

MENOH MBIPERWOH ERNEST                                       CIVIL ACTION NO. 20-0775

                                                             SECTION P
VS.
                                                             JUDGE TERRY A. DOUGHTY

DEPARTMENT OF HOMELAND                                       MAG. JUDGE KAREN L. HAYES
SECURITY IMMIGRATION
AND CUSTOM ENFORCEMENT

                                   MEMORANDUM ORDER

       Petitioner Menoh Mbiperwoh Ernest, a detainee in the custody of the Department of

Homeland Security (“DHS”) and the Bureau of Immigration and Customs Enforcement (“ICE”)

who proceeds pro se, petitions the Court for a writ of habeas corpus under 28 U.S.C. § 2241.

Petitioner is detained at Richwood Correctional Center (“RCC”). He seeks release from

confinement, claiming (1) “overstay in detention”; (2) he suffers from depression, he had a

seizure, and he is a “high blood patient”; and (3) he contracted a virus, Covid-19, and he is

vulnerable to its effects due to his health conditions.

                                            Background

       Petitioner is classified as an “arriving alien, pending removal.” [doc. # 4, p. 1]. He was

taken into immigration custody on October 12, 2019. Id. at 4.

       On December 11, 2019, an immigration judge found that Petitioner was “subject to the

third-country-transit asylum eligibility bar, 8 C.F.R. § 1208.13(c)(4), as an alien who entered,

attempted to enter, or arrived in the United States across the southern land border of the United

States on or after July 16, 2019, who did not apply for protection from persecution or torture in at

least one country outside the alien’s country of citizenship, nationality, or last lawful habitual
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residence en route to the United States, and who is not a ‘victim of a severe form of trafficking’

as defined by 8 C.F.R. § 214.11.” [doc. # 1-2, p. 2]. The judge then found: “The Applicant []

has not established a significant possibility that the alien could establish eligibility for asylum,

withholding of removal, or protection under the Convention Against Torture. 8 C.F.F.

§§1003.42(d)(1), 1208.30(g)(2)(iv)(A)-(C).” Id. Finally, the judge affirmed the “decision of the

DHS immigration officer” and returned the case “to the DHS for removal of the alien.” Id.

       Petitioner filed this proceeding on approximately June 18, 2020. [doc. # 1]. Channeling

Zadvydas v. Davis, 533 U.S. 678 (2001), he first claims:

         Overstay in detention. After my removal order was made, my deportation officer
         had 90 days to effect my renewal [sic] if my removal was not possible he had
         the right to review my custody for possible release. This was not done and I
         have been detained for over 180 days now.

[doc. # 4, p. 6]. He next claims:

         I merit to be released due to my medical condition. My medical or health status
         is not appropriate for me to continue detention. I have once had seizure due to
         depression. Also, I was tested positive for Covid-19 and I suddenly became a
         high blood patient too. [sic].

 Id. Finally, Petitioner seeks release under an “April 20, 2020 lawsuit approved by a federal

court[,]” maintaining that the court ordered “ICE . . . to release immigrants or detainees who are

vulnerable to Covid-19 due to their health conditions . . . .” Id.

       Petitioner asks the Court to “urge DHS-ICE to release [him] immediately . . . .” Id.

                                                Order

       To resolve this matter:

       THE CLERK OF COURT IS DIRECTED to serve a summons, a copy of the Petition,

[doc. # 4], and a copy of this Memorandum Order by certified mail on:

       (1) the United States Attorney for the Western District of Louisiana;



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       (2) the United States Attorney General;

       (3) DHS/ICE through its Director; and

       (4) the Warden of Richwood Correctional Center.

       IT IS ORDERED that Respondents answer the Petition within 21 days following the

date of service. In the answer, Respondents shall include summary judgment evidence indicating

whether Petitioner’s order of removal is final, whether there is a significant likelihood of

removal in the reasonably foreseeable future, and whether Petitioner’s detention is otherwise

lawful. This evidence shall include information regarding the length of time that he has been in

custody, the date on which his removal order became final, any relevant administrative decisions,

and all documents relevant to the efforts made by officials to obtain travel documents for

Petitioner. Respondents shall also file a memorandum of law, briefing the issues and citing

applicable law.

       IT IS FURTHER ORDERED that Petitioner shall have 30 days following the filing of

Respondents’ answer to produce contradictory summary judgment evidence 1 concerning the

lawfulness of his detention.

       All documentary exhibits must have properly numbered pages. Respondents shall also

include an index describing each item attached to the answer and showing each item’s page

number.




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  Summary judgment evidence includes affidavits or unsworn declarations made under 28 U.S.C.
§ 1746, deposition testimony, answers to interrogatories, admissions, and sworn or certified
copies of all papers referred to. All affidavits or unsworn declarations must comply with Rule
56(e). They shall be made on personal knowledge and set forth such facts as would be
admissible in evidence, and they shall show affirmatively that the affiant is competent to testify
to the matters stated therein.
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       IT IS FURTHER ORDERED that, as a condition of their acceptance by the Clerk of

Court, all future filings by Petitioner and Respondents shall include a certificate stating that

copies of the filings have been mailed to all other parties.

       When the record is complete, the Court will determine if any genuine disputes of material

fact necessitate an evidentiary hearing. If no hearing is necessary, a Report and

Recommendation will issue without further notice.

       In Chambers, Monroe, Louisiana, this 7th day of July, 2020.




                                                         __________________________________
                                                         KAREN L. HAYES
                                                         UNITED STATES MAGISTRATE JUDGE




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